Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 1 of 12 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FT. MYERS DIVISION

WILLIAM GONZALEZ-VEGA, on behalf of himself
and all others similarly situated,

Plaintiff,
v. Case No.:
BRIGHTVIEW LANDSCAPES LLC,

Defendant.
/

COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, WILLIAM GONZALEZ-VEGA (“Plaintiff”), by and through
undersigned counsel, on behalf of himself and on behalf of all others similarly situated,
brings this action against Defendant, BRIGHTVIEW LANDSCAPES LLC
(“Defendant”), and in support of his claims states as follows:

JURISDICTION AND VENUE

1. This is an action for damages under the Fair Labor Standards Act
(“FLSA”), 29 U.S.C. § 201 et seq., for unpaid wages, and for violations of the Family
and Medical Leave Act of 1993, as amended, 29 U.S.C. § 2601 et seg. (“FMLA”). This
Complaint, regarding claims for relief under the FLSA, is filed as a collective action
under 29 U.S.C. § 216(b).

2, This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 29

U.S.C. § 201 et seq.
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 2 of 12 PagelD 2

a Venue is proper in the Middle District of Florida, because all of the events
giving rise to these claims occurred in Charlotte County, Florida, which lies within the

Middle District.

PARTIES
4, Plaintiff is a resident of Sarasota County, Florida.
Ss Defendant BrightView Landscapes, LLC operates a landscaping company

in Port Charlotte, in Charlotte County, Florida.

 

GENERAL ALLEGATIONS
6. Plaintiff has satisfied all conditions precedent, or they have been waived.
7, Plaintiff has hired the undersigned attorneys and agreed to pay them a fee.
8. Plaintiff requests a jury trial for all issues so triable.
9. At all times material hereto, Named Plaintiff William Gonzalez-Vega was

employed by Defendant as a landscaper.

10. The putative class of similarly situated employees consists of all other
landscapers employed by Defendant within the last three years. These similarly situated
persons will be referred to as “Members of the Class” or “the Class.”

11. At all times material hereto, Plaintiff and Members of the Class were
“engaged in the production of goods” for commerce within the meaning of Sections 6 and
7 of the FLSA, and as such were subject to the individual coverage of the FLSA.

12. At all times material hereto, Plaintiff and Members of the Class were

“employees” of Defendant BrightView Landscapes, LLC within the meaning of the

FLSA.
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 3 of 12 PagelD 3

13. At all times material hereto, Defendant BrightView Landscapes LLC was
an “employer” within the meaning of the FLSA, 29 U.S.C. § 203(d).

14. Defendant BrightView Landscapes, LLC continues to be an “employer”
within the meaning of the FLSA.

15. At all times material hereto, Defendant BrightView Landscapes, LLC was
and continues to be an enterprise covered by the FLSA, as defined under 29 U.S.C. §§
203(r) and 203(s).

16. At all times relevant to this action, Defendant BrightView Landscapes,
LLC engaged in interstate commerce within the meaning of the FLSA, 29 U.S.C. §
203(s).

17. At all times relevant to this action, the annual gross sales volume of
Defendant BrightView Landscapes, LLC exceeded $500,000 per year.

18. Specifically, Plaintiff and the Class were not employed by Defendant in a
bona fide administrative, executive, or professional capacity. In particular, Plaintiff and
Members of the Class had no authority to hire or terminate any other employee of
Defendant; they had no special or professional qualifications and skills for the explicit
use of which they were employed by Defendant; and they had no control whatsoever over
Defendant’s business operations, even from an administrative standpoint.

19. Thus, Plaintiff and Members of the Class are “non-exempt employees”
who are covered by the FLSA.

20. Atall times material hereto, the work performed by Plaintiff and Members

of the Class was directly essential to the business performed by Defendant.
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 4 of 12 PagelD 4

21. This is an action to recover damages suffered by Plaintiff while employed
by Defendant, when Defendant interfered with Plaintiffs rights under the FMLA and
retaliated against Plaintiff for exercising these same rights.

22. At the time of these events, Plaintiff was an employee of Defendant, and
he worked at least 1250 hours in the 12 months preceding his request for leave under the
FMLA.

23. Thus, Plaintiff is an “eligible employee” within the meaning of the FMLA,
29 U.S.C. § 2611(2).

24, Defendant is an “employer” within the meaning of the FMLA, 29 U.S.C. §
2611(4).

FACTS

25. Named Plaintiff, WILLIAM GONZALEZ-VEGA, began working for
Defendant as a landscaper in 2009, and he worked in this capacity until December 2016.

26. At all times material hereto, Plaintiff and Members of the Class worked
hours at the direction of Defendant, and they were not paid at least the applicable
minimum wage for all of the hours that they worked.

27. Specifically, Defendant required Plaintiff and Members of the Class to
arrive at work at least a half hour prior to clocking in to prepare equipment for the day
and to perform other duties to get ready for the day’s work. Plaintiff and Members of the
Class were not paid the preparation work.

28. By failing to accurately record all of the hours worked by Plaintiff and

Members of the Class, Defendant has failed to make, keep, and preserve records with
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 5 of 12 PagelD 5

respect to each of its employees in a manner sufficient to determine their wages, hours,
and other conditions of employment, in violation of the FLSA. See 29 C.F.R. § 516.2

29. Defendant’s actions were willful, and showed reckless disregard for the
provisions of the FLSA.

30. On or around September 17, 2016, Plaintiff suffered from a serious injury
within the meaning of the FMLA. Specifically, Plaintiff injured his back and required
time off from work to care for himself.

31. On or about October 14, 2016, Plaintiff submitted proper medical
documentation to Defendant in support of his FMLA leave request to care for himself.

32. On or about December 5, 2016, Plaintiff's employment was terminated for
excessive absences from work that should have been protected by the FMLA.

33. Plaintiff exercised his rights under the FMLA by submitting the proper
medical documentation to Defendant in support of his FMLA claim.

34, By terminating Plaintiffs employment, Defendant violated Plaintiffs
rights under the FMLA.

COLLECTIVE ACTION ALLEGATIONS
AS TO PLAINTIFF’S FLSA CLAIM FOR UNPAID WAGES

35; Plaintiff brings this case as an “opt-in” collective action on behalf of
similarly situated employees of Defendant (the “Class”) pursuant to 29 U.S.C. § 216(b).
The Class is composed of landscapers whom Defendant failed to compensate for all

wages earned in accordance with the FLSA.
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 6 of 12 PagelD 6

36. Therefore, notice is properly sent to: “All landscapers whom Defendant
failed to compensate for all wages earned from the beginning of the applicable FLSA
statute of limitations period to the present.”

37. The total number and identities of the Class members may be determined
from the records of Defendant, and the Class may easily and quickly be notified of the
pendency of this action.

38. Plaintiff is similar to the Class because he and the Class have been
unlawfully denied full payment of their wages as mandated by the FLSA.

39. Plaintiff's experience with Defendant’s payroll practices is typical of the
experiences of the Class.

40.  Defendant’s failure to pay all wages due at the premium rates required by
the personal circumstances of the named Plaintiff or of the Class is common to the Class.

41. Defendant's failure to pay all wages due is common to the Class.

42. Defendant’s practice of making unlawful deductions from wages in
violation of the FLSA is common to the Class.

43. Overall, Plaintiff's experience as a landscaper who worked for Defendant

is typical of the experience of the Class.

44, Specific job titles or job duties of the Class do not prevent collective
treatment.
45. Although the issues of damages can be individual in character, there

remains a common nucleus of operative facts concerning Defendant’s liability under the

FLSA in this case.
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 7 of 12 PagelD 7

COUNT I - CLAIM FOR CLASS ACTION RELIEF
FOR UNPAID WAGES UNDER THE FAIR LABOR STANDARDS ACT

46. Plaintiff realleges and readopts the allegations of paragraphs 1 through 20
and 25 through 29 of this Complaint, as though fully set forth herein.

47. During the statutory period, Plaintiff and the Class worked for Defendant,
and Defendant agreed to pay Plaintiff and the Class for their services.

48. Defendant consistently made unlawful deductions from the wages of
Plaintiff and the Class by not compensating Plaintiff and members of the class for all
wages earned.

49, By refusing to allow Plaintiff and the Class to clock in when they
commenced work, and to require that they perform preparatory work off the clock,
Defendant violated the FLSA.

50. The Members of the Class are similarly situated because they were all
employed as landscapers by Defendant, were compensated in the same manner, and were
all subject to Defendant’s common policy and practice requiring the employees to work
off the clock.

51. Defendant’s unlawful practices violate the provisions of the FLSA. As a
result, Plaintiff and the Members of the Class who have opted into this action are entitled
to an amount equal to their unpaid wages, as measured by the unlawful deductions made

by Defendant to their wages, as liquidated damages.
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 8 of 12 PagelD 8

52. All of conduct, as alleged, constitutes a willful violation of the FLSA,

within the meaning of 29 U.S.C. § 255(a).

53. As a result of the foregoing, Plaintiff and the Class have suffered damages.

WHEREFORE, Plaintiff and all similarly situated employees who join this

collective action demand:

(a)

(b)

(c)

(d)

(e)

Designation of this action as a collective action on behalf of the
Plaintiff and the prospective Class that he seeks to represent, in
accordance with the FLSA;

Prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all
similarly situated members of the FLSA putative class, apprising
them of the pendency of this action and permitting them to assert
timely FLSA claims in this action by filing individual consent to
sue forms pursuant to 29 U.S.C. § 216(b);

Equitable tolling of the statute of limitations from the date of the
filing of this complaint until the expiration of the deadline for
filing consent to sue forms under 29 U.S.C. § 216(b);

Leave to add additional plaintiffs by motion, the filing of written
consent forms, or any other method approved by this Court:
Judgment against Defendant for an amount equal to the unpaid
wages of Plaintiffs and all opt-in Members of the Class, as

measured by Defendant’s unlawful deductions;
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 9 of 12 PagelD 9

 

(f) Judgment against Defendant for an amount equal to the unpaid
wages of Plaintiff and all opt-in Members of the Class, as
measured by Defendant’s unlawful deductions, as liquidated
damages;

(g) A declaratory judgment stating that the practices complained of
herein are unlawful under the FLSA;

(h) Judgment against Defendant stating that its violations of the FLSA
were willful;

(i) To the extent liquidated damages are not awarded, an award of
prejudgment interest;

(j) All costs and attorney’s fees incurred in prosecuting these claims;
and

(k) For such further relief as this Court deems just and equitable.

COUNT II - FMLA INTERFERENCE
1. Plaintiff realleges and readopts the allegations of paragraphs 1 through 9,

21 through 24 and 30 through 34 of this Complaint, as fully set forth herein.

2. Plaintiff required time off from work to care for himself, because he

suffered from a serious health condition within the meaning of the FMLA, requiring

leave protected under the FMLA.

3. By terminating Plaintiff's employment for absences that should have been

protected under the FMLA, Defendant interfered with Plaintiff's FMLA rights, in

violation of 29 U.S.C. §§ 2614(a)(1)(A) and 2615(a)(2).
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 10 of 12 PagelD 10

4. Defendant’s actions were willful and done with malice.

5. Plaintiff was injured due to Defendant’s violations of the FMLA, for

which Plaintiff is entitled to legal and injunctive relief.

WHEREFORE, Plaintiff demands:

a)

b)

d)

g)

h)

That this Court enter a judgment that Defendant interfered with
Plaintiff's rights in violation of the FMLA;

An injunction restraining continued violation of the FMLA by
Defendant;

Compensation for lost wages, benefits, and other remuneration;
Reinstatement of Plaintiff to a position comparable to Plaintiff's
prior position with back pay plus interest, pension rights and all
benefits, or, in the alternative, the entry of a judgment under 29
US.C. § 2617(a)(1)(A))CD, against Defendant and in favor of
Plaintiff, for the monetary losses that Plaintiff suffered as a direct
result of Defendant’s violations of the FMLA;

Front pay;

Liquidated Damages;

Prejudgment interest on all monetary recovery obtained:

All costs and attorney’s fees incurred in prosecuting these claims;
and

For such further relief as this Court deems just and equitable.

10
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 11 of 12 PagelD 11

COUNT Ill - FMLA RETALIATION

6. Plaintiff realleges and readopts the allegations set forth in Paragraphs 1
through 9, 21 through 24 and 30 through 34 of this Complaint, as fully set forth herein.

7. Plaintiff required time off from work to care for himself, because he
suffered from a serious health condition within the meaning of the FMLA, requiring
leave protected under the FMLA.

8. Plaintiff engaged in protected activity under the FMLA by exercising
and/or attempting to exercise his FMLA rights.

9, Defendant retaliated against Plaintiff for engaging in protected activity
under the FMLA by terminating Plaintiff's employment.

10. Defendant’s actions were willful and done with malice.

11. Plaintiff was injured by Defendant’s violations of the FMLA, for which
Plaintiff is entitled to legal and injunctive relief.

WHEREFORE, Plaintiff demands:

(a) That this Court enter a judgment that Defendant retaliated against
Plaintiff in violation of the FMLA:

(b) An injunction restraining continued violation of the FMLA by
Defendant ;

(c) Compensation for lost wages, benefits, and other remuneration:

11
Case 2:17-cv-00123-UA-CM Document1 Filed 02/28/17 Page 12 of 12 PagelD 12

(d)

(e)
(f)
(g)
(h)

(i)

Reinstatement of Plaintiff to a position comparable to Plaintiff's
prior position with back pay plus interest, pension rights and all
benefits or, in the alternative, entry of a judgment under 29 U.S.C.
§ 2617(a)(1)(A)@)UID, against Defendant and in favor of Plaintiff,
for the monetary losses Plaintiff suffered as a direct result of
Defendant’s violations of the FMLA:

Front pay;

Liquidated Damages;

Prejudgment interest on all monetary recovery obtained;

All costs and attorney’s fees incurred in prosecuting these claims:
and

For such further relief as this Court deems just and equitable.

JURY TRIAL DEMAND

Plaintiff demands trial by jury as to all issues so triable.

Dated this 42 day of February, 2017.

Respectfully submitted,

an

 

DONNA V. SMITH

Florida Bar Number: 661201
WENZEL FENTON CaABASSA, P.A.
1110 North Florida Avenue, Suite 300
Tampa, Florida 33602

Main Number: 813-224-043 1
Direct Dial: 813-386-0995
Facsimile: 813-229-8712

Email: dsmith@wfclaw.com
Email: reooke@wfclaw.com
Attorneys for Plaintiff

12
